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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JANE DOE,                                   §
                                            §
              Plaintiff                     §
                                            §              CIVIL ACTION NO. 4:19-cv-1209
v.                                          §
                                            §                             JURY DEMANDED
PRAIRIE VIEW A&M UNIVERSITY                 §
                                            §
              Defendant.                    §

             PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND

       Plaintiff Jane Doe (“Plaintiff”) files this Original Complaint and Jury Demand

complaining of Defendant Prairie View A&M University (“Defendant” or “Prairie View

A&M”). In support thereof, Plaintiff would show the Court as follows:

                                        I.
                              PRELIMINARY STATEMENT

       1.     At all relevant times, Prairie View A&M received federal funding for its

academic programs and activities and was subject to the requirements of Title IX of the

Education Amendments of 1972, 20 U.S.C. 1681(a) (hereinafter, “Title IX”).

       2.     Title IX provides that “[n]o person in the United States shall, on the basis of sex,

be excluded from participation in, be denied the benefits of, or be subjected to discrimination

under any education program or activity receiving Federal financial assistance.” 20 U.S.C. §

1681(a).

       3.     Title IX is enforceable through an individual’s private right of action and allows

for the recovery of damages. The United States Supreme Court has held that a school that

receives federal funding can be held liable under Title IX for student-on-student harassment.

Davis v. Monroe Cty. Bd. of Educ., 526 U.S. 629 (1999). Davis held that a complainant may
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prevail in a Title IX damages action against a school in cases of student-on-student harassment

where the funding recipient is:

               (a) “deliberately indifferent to sexual harassment of which the recipient has actual
                   knowledge,” and

               (b) “the harassment is so severe, pervasive, and objectively offensive that it can
                   be said to deprive the victims of access to the educational opportunities or
                   benefits provided by the school.”

               Davis, 526 U.S. at 650.

       4.      On April 4, 2011, the U.S. Department of Education, Office for Civil Rights

issued its “Dear Colleague Letter” to help universities such as Prairie View A&M comply with

the requirements of Title IX, to explain that the requirements of Title IX pertaining to sexual

harassment also covered sexual violence, and to explain the specific Title IX requirements

applicable to sexual violence.

       5.      On April 29, 2014, the U.S. Department of Education Office for Civil Rights sent

out a second Dear Colleague Letter (FAQs) with specific guidance on University compliance

with Title IX and sexual harassment/violence.

       6.      This case arises from Defendant’s deliberately indifferent response to reports of

student-on-student sexual assault and subsequent sex-based harassment. Specifically,

Defendant’s failure to promptly and appropriately investigate and respond to Plaintiff’s assault

furthered sexual harassment and a hostile environment, effectively denying Plaintiff, and other

female students, access to educational opportunities. Plaintiff brings this action to redress a

hostile educational environment pursuant to Title IX.




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                                                       II.
                                                    PARTIES

         7.       Plaintiff Jane Doe1 is an individual who, at the time of the sexual assault

complained of herein, was a student attending Prairie View A&M.

         8.       Defendant Prairie View A&M University is a public university with its campus

located in Prairie View, Waller County, Texas. Defendant may be served through its President,

Dr. Ruth J. Simmons at the Office of the President, 700 University Drive, Prairie View, Texas

77446 or by serving its registered agent, Jim Davis, Deputy AG for Civil Litigation, Price

Daniel, Sr. Building, 8th Floor, 209 W. 14th Street, Austin, Texas 78701.

                                                 III.
                                      JURISDICTION AND VENUE

         9.       The Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1331, which gives district courts original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.

         10.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), since Defendant

resides or resided in this district and the events or omissions giving rise to the claim occurred in

this district.

                                                        IV.
                                                       FACTS

         11.      Plaintiff was a student at Prairie View A&M from the spring of 2016 until

February of 2019.

         12.      On April 3, 2017, Plaintiff was sexually assaulted by a member of the Prairie

View A&M men’s basketball team in the assailant’s off-campus apartment. The apartment itself

1
 “Jane Doe” has been substituted for Plaintiff’s name for all causes of action brought through this Complaint which
would otherwise publish important privacy interests of Plaintiff. Plaintiff intends to file a Motion to Proceed Under
Pseudonym, requesting the Court sign an order allowing her to proceed in the above-captioned matter using a
pseudonym after a civil action number is assigned to this case.
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was located within a student housing community serving only the students attending Prairie

View A&M. Further, the assailant’s housing was paid for by Prairie View A&M.

       13.     Plaintiff reported the sexual assault to her mother, who later reported the sexual

assault to the head coach and an assistant coach for the Prairie View A&M men’s basketball

team. Thereafter, Plaintiff reported the sexual assault to the Prairie View A&M University Police

Department and gave a preliminary statement regarding the assault. Plaintiff was then taken to

Tomball Regional Medical Center for a sexual assault examination.

       14.     Following initial reports of the sexual assault, Plaintiff reported the assault to

Prairie View A&M officials. Plaintiff was interviewed by Prairie View A&M’s Student Conduct

Officer. Plaintiff provided a detailed written statement regarding her assailant and the assault,

including the names of the Prairie View A&M officials who were notified of the assault. Plaintiff

was also interviewed by a detective with the Prairie View A&M University Police Department.

At least one of these interviews was videotaped. Each time Plaintiff was interviewed, she

provided the name of the alleged assailant and painfully recounted the details of her assault.

Although Plaintiff fully cooperated with several requests to provide information, Prairie View

A&M officials seemingly ceased their investigation and did nothing to ensure the safety and

well-being of Plaintiff.

       15.     As final exams approached in late April 2017, Plaintiff’s mother emailed the

Texas A&M Chancellor as the over-seer of Prairie View A&M. Plaintiff’s mother explained that

despite numerous reports being made to various Prairie View A&M officials, the school had

essentially done nothing. In fact, Plaintiff’s mother pointed out that a hearing was held to

determine whether Plaintiff, as opposed to the alleged assailant, had somehow violated the

Prairie View A&M Student Code of Conduct in connection with the assault.


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        16.     Plaintiff’s mother informed the Chancellor that she had learned that the student-

athlete was in the United States on a student visa. Plaintiff’s mother cited concerns that Prairie

View A&M officials were attempting to cover up the assault due the assailant’s status as a

student-athlete. Plaintiff’s mother also informed the Chancellor that a campus wide bulletin

regarding Plaintiff’s assault had not been released to students or parents, despite the fact that

Plaintiff had reported the assault nearly three weeks earlier and the assailant remained on

campus. Plaintiff’s mother expressed concerns for her daughter’s safety, including the fact that

Plaintiff was scared to go to one of her classes due to the fact that the assailant also had a class in

the same building at the same time.

        17.     The Chancellor never responded to Plaintiff’s mother’s email.

        18.     Subsequently, Plaintiff stopped attending her class due to overwhelming anxiety

and fear that she may encounter her assailant. As a result, Plaintiff’s grades suffered.

        19.     In the beginning of May 2017, Plaintiff’s mother sent another email to Prairie

View A&M’s Student Conduct Officer inquiring about Plaintiff’s ability to transfer to a different

school due to concerns for her daughter’s safety and the fear that the assailant would be

permitted to return to Prairie View A&M in the fall. Plaintiff’s mother informed the Student

Conduct Officer that Plaintiff had encountered her assailant on campus on numerous occasions.

Plaintiff’s mother reiterated that the school had still not issued a campus wide bulletin alerting

students and parents of Plaintiff’s assault. Plaintiff’s mother also expressed frustration that the

school had done nothing, citing concerns that the lack of response was attributed to the

assailant’s status as a student-athlete.

        20.     A few weeks later, Prairie View A&M officials asked Plaintiff to subject herself

to yet another interview, despite the fact that Plaintiff had fully cooperated up until that point and


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had already provided her assailant’s identity and a complete, detailed account of the assault to

numerous university officials. Due to final exams, Plaintiff was unable to participate in another

interview.

       21.     Upon information and belief, Prairie View A&M officials interviewed Plaintiff’s

assailant who claimed that Plaintiff’s allegations were unfounded. Despite having received ample

information from Plaintiff and an independent witness by way of a police report, written and

videotaped statements and several one-on-one interviews, Prairie View A&M officials ultimately

determined that Plaintiff’s allegations of sexual assault were unsubstantiated and closed their

investigation. Upon information and belief, Prairie View A&M officials made this determination

because Plaintiff did not present for another interview.

       22.     Before the fall semester began, Plaintiff’s assailant was indicted for second degree

felony sexual assault. During a bail hearing, an investigator for the Waller County District

Attorney’s office testified that the U.S. Department of Homeland Security was after the assailant

because his student-visa had expired and he had overstayed his allotted time in the United States.

       23.     Upon information and belief, the assailant admitted under oath during the bail

hearing that although he is a Nigerian citizen, he indicated that he was a United States citizen on

his college admission paperwork. Upon information and belief, the assailant also submitted false

documentation in which he misrepresented his age. Specifically, according to some reports, the

assailant represented that he was 23 years old, when in fact he was 33 years old. The judge

ultimately denied bail and Plaintiff’s assailant remained in jail until October 2018 when he was

released on bond.

       24.     Subsequently, Plaintiff’s assailant was charged with tampering with governmental

school records, a third degree felony. Upon information and belief, this charge stemmed from the


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fraudulent documentation and information submitted by assailant to Prairie View A&M. Upon

information and belief, Prairie View A&M did not take any steps to ensure the veracity of the

assailant’s paperwork or the validity of his student visa prior to accepting him as a student and

allowing him onto the Prairie View A&M campus.

       25.     Plaintiff returned to Prairie View A&M in fall 2017 and continued attending

school at Prairie View A&M until the end of January 2019.

       26.     In late January 2019, Plaintiff was on the Prairie View A&M campus when she

encountered her assailant. Unbeknownst to Plaintiff, her assailant had been released from jail.

Also unbeknownst to Plaintiff was the fact that Prairie View A&M officials had allowed

Plaintiff’s assailant to re-enroll in the school. No one at Prairie View A&M notified Plaintiff that

the assailant was returning to campus.

       27.     Upon learning that Plaintiff’s assailant was present on the Prairie View A&M

campus, Plaintiff and her mother met with officials in the Prairie View A&M Student Affairs’

office. During the meeting, Prairie View A&M officials confirmed that Plaintiff’s assailant had

re-enrolled at Prairie View A&M. Prior to Plaintiff’s assailant re-enrolling at Prairie View A&M,

Plaintiff and Plaintiff’s mother learned that Plaintiff’s assailant had at least two other complaints

filed against him, stemming from incidents of sexual assault which occurred prior to Plaintiff’s

assault. Plaintiff and Plaintiff’s mother informed Prairie View A&M officials of the prior

assaults. Upon information and belief, Prairie View A&M were already aware of the prior

assaults as they had been reported to school officials.

       28.     Despite knowledge of at least three separate instances of sexual assault involving

Plaintiff’s assailant and repeated requests for action by Plaintiff, Prairie View A&M did nothing.

Further, after multiple phone calls, in-person meetings and emails, it became clear to Plaintiff


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that Prairie View A&M did not actually intend to do anything to ensure Plaintiff’s safety and

emotional well-being. It also became clear that Prairie View A&M did not intend to provide any

resources to Plaintiff or otherwise ensure that Plaintiff would be able to remain on Prairie View

A&M’s campus without encountering her assailant. Therefore, Plaintiff ultimately decided to

withdraw from Prairie View A&M at the end of January 2019, just weeks into the spring

semester.

       29.     Throughout this entire time, Prairie View A&M was clearly on notice of the

report that one of their female students, Plaintiff, was raped by another student-athlete.

       30.     As a result, Prairie View A&M had control over both the offender as well as the

context of the ongoing harassment and had the ability to address its effects and prevent its

recurrence. Yet, Prairie View A&M did nothing.

       31.     Prairie View A&M’s failure to adequately investigate and respond to Plaintiff’s

sexual assault combined with the subsequent return of Plaintiff’s assailant to the Prairie View

A&M campus after having spent nearly a year in jail, and Prairie View A&M’s complete

inaction in response to numerous inquiries by Plaintiff, created a highly hostile educational

environment for Plaintiff on a daily basis.

       32.     Plaintiff endured significant emotional distress and attended counseling with a

private counselor unaffiliated with Prairie View A&M. The highly hostile educational

environment and significant emotional distress Plaintiff endured as a result ultimately led to her

decision to withdraw from Prairie View A&M.




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                                               V.
                                        CAUSES OF ACTION

A.     VIOLATION      OF   TITLE IX   OF THE   EDUCATION AMENDMENTS          OF   1972, 20 U.S.C. §
       1681(A)

       33.     Plaintiff incorporates by reference all preceding facts and allegations set forth

above in Paragraphs 1 through 32.

       34.     The sex-based harassment articulated in this complaint was so severe, pervasive

and objectively offensive that it deprived Plaintiff of access to educational opportunities or

benefits provided by the school.

       35.     Prairie View A&M created and/or subjected Plaintiff to a hostile educational

environment in violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a)

(Title IX) because:

       a) Plaintiff was a member of a protected class;
       b) Plaintiff was subjected to sexual harassment in the form of sexual assault by another
          student-athlete;
       c) Plaintiff was subjected to harassment based on her sex; and
       d) Plaintiff was subjected to a hostile educational environment created by the
          Defendant’s lack of policies and procedures and failure to properly investigate and/or
          address the sexual assault and subsequent harassment.

       36.     Defendant and its officials had actual knowledge of Plaintiff’s sexual assault,

Plaintiff’s assailant, and the resulting harassment of Plaintiff created by its failure to investigate

and discipline Plaintiff’s assailant in a timely manner and consistent with federal and state law.

       37.     Defendant deliberately chose not to investigate Plaintiff’s sexual assault after

learning of the assault and the identity of the student-athlete involved.

       38.     Defendant’s failure to investigate the assault, conduct disciplinary hearings, or

contact Plaintiff and offer any assistance or resources was clearly unreasonable. Further,

Defendant’s affirmative decision to allow Plaintiff’s assailant to re-enroll in Prairie View A&M


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in the spring 2019 semester, despite the fact that he was charged with felony sexual assault and

preparing to stand trial, was clearly unreasonable. Moreover, Prairie View A&M’s failure to

contact Plaintiff to notify her that the assailant had returned to campus or offer any assistance or

resources when she made repeated requests for accommodations to ensure her safety and well-

being, was clearly unreasonable and ultimately led to Plaintiff withdrawing from the university.

       39.     Defendant’s deliberate indifference to Plaintiff’s rape exposed her to continued

sexual harassment which was so severe, pervasive, and objectively offensive that it effectively

barred her access to meaningful educational opportunities and benefits including academics,

athletic programs, and on-campus events and activities.

       40.     Defendant’s failure to promptly and appropriately respond to the alleged sexual

harassment resulted in Plaintiff, on the basis of her sex, being excluded from participation in,

being denied the benefits of, and being subjected to discrimination in the Defendant’s education

program in violation of Title IX.

       41.     Defendant failed to take immediate, effective remedial steps to resolve the

complaints of sexual harassment, and instead acted with deliberate indifference towards Plaintiff.

       42.     Defendant persisted in its actions and inaction even after it had actual knowledge

of the harm suffered by Plaintiff.

       43.     Defendant engaged in a pattern and practice of behavior designed to discourage

and dissuade students who had been sexually assaulted from seeking prosecution and protection

and from seeking to have sexual assaults from being fully investigated.

       44.     This policy and/or practice constituted disparate treatment of females and had a

disparate impact on female students.




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       45.     Plaintiff has suffered emotional distress and psychological damage, and her

character and standing in the community has suffered from the harassment fostered as a direct

and proximate result of Defendant's deliberate indifference to their rights under Title IX.

                                            VI.
                                      ATTORNEYS FEES

       46.     As a result of this action, Plaintiff has retained the law firm of Abraham, Watkins,

Nichols, Sorrels, Agosto & Aziz to represent her in her claims against Prairie View A&M.

Accordingly, Plaintiff seeks attorneys’ fees incurred pursuant to Title IX.

                                             VII.
                                        JURY DEMAND

       47.     Plaintiff respectfully demands a jury trial.

                                            VIII.
                                     RELIEF REQUESTED

       48.     For the foregoing reasons, Plaintiff respectfully requests that the Court enter

judgment against Defendant consistent with the relief requested herein, and for any and all other

relief to which Plaintiff may be justly entitled including actual damages, compensatory damages,

court costs, attorneys’ fees, and pre- and post-judgment interest.

                                  [Signature block on next page]




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DATED: April 3, 2019               Respectfully submitted,

                                   ABRAHAM, WATKINS, NICHOLS,
                                   SORRELS, AGOSTO & AZIZ

                                   /s/Muhammad S. Aziz            _
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